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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                   Case No.:

    LAVORIS COLLINS,
                             Plaintiff,

                and
    DEPARTMENT OF CHILDREN AND FAMILIES,
                      Defendant.
    ____________________________________________/

                                           COMPLAINT

           COMES NOW Plaintiff, LAVORIS COLLINS, by and through her undersigned

    counsel, hereby files her Complaint against the Defendant, the DEPARTMENT OF

    CHILDREN AND FAMILIES (“hereinafter DCF”).

                                            INTRODUCTION

           This civil action arises from an incident that occurred on or about September 2014

    until March 22, 2017, during the retaliation suffered of Plaintiff LAVORIS COLLINS.

    The Defendant DCF’s employees wrongfully retaliated against the Plaintiff based upon

    her engaging in protected activity after she made several complaints regarding upper

    management and staff.

           Plaintiff LAVORIS COLLINS brings a federal constitutional claim against the

    Defendant DCF as the supervisory entity responsible for the conduct, training, and

    supervision of the employees under its charge. DCF failed to properly train the

    employees in the appropriate methods, proper procedures, and protocols with respect to

    accommodating the Plaintiff’s disability. DCF had a policy and custom that constituted

    deliberate indifference to the Plaintiff’s constitutional claims of retaliation based on her


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    engaging in protected activity and DCF’s policy and custom deprived the Plaintiff of her

    rights under the Constitution and the laws of the State of Florida, resulting in unlawful

    termination.

                                    JURISDICTION AND VENUE

           1. Plaintiff in her action seeks relief under the Title VII of the Civil Rights

               Act of 1964, as amended, 42 U.S.C. ⸹2000E-3(a), including

               compensatory damages, costs, and attorney’s fees, pursuant to 42 U.S.C.

               § 1988.

           2. Venue is proper in the Southern District Court of Florida, pursuant to 28

               U.S.C. §1391 (b), as the Defendant’s principal place of business in Miami-

               Dade, and all of the acts and omissions giving rise to the action occurred in

               Miami-Dade County.

           3. The Court has federal question jurisdiction over the Plaintiff’s federal law

               claims, pursuant to 28 U.S.C. §§ 1331, 1343(a)(3).

           4. All conditions precedent to the maintenance of the action, including those set

               forth in Florida Statute §768.28, have been performed, have occurred prior to

               its institution, or have been waived.

                                            PARTIES

           5. At all times material hereto, Plaintiff LAVORIS COLLINS is a resident of

               Miami-Dade County, Florida, and is otherwise sui juris. LAVORIS COLLINS

               is an African American woman that engaged in protected activity prior to

               being retaliated against while she is in her workplace.




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          6. At all times material hereto, the Upper Management Staff that retaliated

             against Plaintiff were all employed for the Defendant DCF and was acting

             under the direction and control of DCF, in such capacity as an agent, servant,

             and employee of DCF. Upon information and belief, and at all times material

             hereto, Management of the Defendant DCF participated in the

             unconstitutional violation and other wrongful acts that occurred from

             September 2014 until March 2017, at which time she was acting within the

             course and scope of her employment.

          7. DCF is responsible, as a matter of law, for the actions of its officials, agents,

             and employees, and was responsible for their training, supervision, and

             conduct. DCF is also responsible for ensuring that its personnel obey the laws

             of the State of Florida and ensuring that its rules and regulations are followed

             and enforced by its employees.

          8. Plaintiff LAVORIS COLLINS sues Defendant DCF.

                                      FACTUAL ALLEGATIONS

                         Events that Occurred from September 2014- March 2017

          9. In September 2014, Plaintiff was employed with the Department of Children

             and Families located at: 200 Opa Locka Boulevard, Opa Locka, Florida

             33054.

          10. During the course of her employment, Plaintiff made several complaints both

             written and verbal regarding her workplace for both her safety and the safety

             of her co-workers due to her medical diagnosis, hardship that it presented for

             her, and that she was being retaliated against by the staff of the DCF.

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          11. DCF has maintained a long-standing, widespread history of failure to train,

             supervise, or otherwise discipline its employees for, among other things,

             retaliation in the workplace even though it had notice of the unlawful conduct

             by its employees.

          12. DCF has maintained a system of review for abuses of lawful authority like

             retaliation, by its employees has failed to subject employees that employed

             retaliation to appropriate discipline, closer supervision, and/or retaining, to the

             extent that it has become the de facto policy and custom of DCF to tolerate

             such acts by its officers.

          13. Indeed, DCF routinely performs cursory investigations of incidents involving

             extremely questionable retaliation on the part of DCF’s employees, with an

             eye toward exonerating the employee involved rather than finding out the

             truth.

          14. Due to the intentionally inadequate investigative process, in virtually all

             wrongful retaliation, DCF has declared the conduct of its employees to be

             justified.

          15. DCF’s foregoing acts, omissions, policies, or customs caused employees to

             believe that such acts as retaliation would not properly be investigated. The

             consistent lack of accountability within DCF for the questionable and often

             unjustifiable retaliation has promoted an acceptance of unconstitutional

             behavior towards employees who engage in protected activity. The resulting

             culture of retaliation promotes work place hostility.




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          16. Despite DCF’s notice and knowledge of the impartial and biased propensities

             of their employees because of said employee’s lack of training, skill, and/or

             experience, DCF failed to implement any policies or programs to train said

             employees or otherwise intentionally failed to protect the Plaintiff.

          17. DCF had policies, customs, and practices that constituted deliberate

             indifference to Plaintiff’s Constitutional Rights pursuant to 42 U.S.C ⸹ 2000e

             et seq.

          18. The actions of DCF in this case, as well as the actions of Defendant DCF in

             other similar situations, indicate that the employees who violated LAVORIS

             COLLINS’ rights acted in accordance with DCF’s policies and reflect policies

             were adopted by DCF and their officials.

          19. The failure of DCF to completely investigate wrongful retaliation and to

             institute appropriate disciplinary and restraining action in the wake of them,

             severs to tacitly condone the egregious misconduct of the employees involved.

             The agency’s inaction in this regard effectively annuls its official general

             orders regarding retaliation and custom of tolerating retaliation, which will

             invariably have the effect of promotion similar misconduct by other

             employees in the future. In sum, the pattern of not obeying the law on the part

             of the DCF employees stems from systematic deficiencies in training and

             supervision and from the inadequate investigation and routine infraction of

             illegality.

          20. The Defendant took retaliatory actions against the Plaintiff by failing to honor

             her requests to amend policies and procedures for safety purposes.

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                                                 COUNT 1

                                                Count One

                                  (Retaliation in Violation of Title VII)

          21. Plaintiff repeats and realleges paragraphs 1 through 20 as if fully set forth
              herein.

          22. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. ⸹ 2000e-

             3(a) provides that it shall be unlawful employment practice for an

             employer: “(1) too… discriminate against any of his employees…because

             he has opposed any practice made an unlawful employment practice by

             this subchapter, or because he has made a charge, testified, assisted or

             participated in any manner in an investigation, proceeding, or hearing

             under this subchapter.”

          23. Defendant engaged in unlawful employment practices prohibited by 42

             U.S.C. ⸹ 2000e et seq. by discriminating against Plaintiff with respect to the

             terms, conditions, or privileges of employment because of her opposition to

             the unlawful employment practices of Defendant.

          24. The discriminatory and retaliatory conduct was carried out by Defendant at

             the Opa Locka location of DCF.

             25. Defendant has retaliated against the Plaintiff, by failing to provide a

             non-abusive, safe working environment within the agency that will allow

             employees to engage in protected activity.

                                       Request for Relief

          26. As a further direct and proximate result of the conduct described above,

             Plaintiff LAVORIS COLLINS suffered loss. These losses are either
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               permanent or continuing, and LAVORIS COLLINS will suffer losses in the

               future, in violation of her civil rights. Plaintiff has also agreed to pay the

               undersigned a reasonable attorney fee for services provided.

           WHEREFORE, Plaintiff prays for the following relief:

           a. Judgement for compensatory damages in excess of $100,000.00;

           b. Cost of suit;

           c. Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983;

           d. Trial by Jury as to all issues so triable; and

           e. Such other relief as this Honorable Court may deem just an appropriate.

    Date: April 1, 2019

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 1, 2019, I electronically filed the foregoing
    which will send a notice of electronic filing to the following:

    Department of Children and Families
    401 N.W. 2nd Avenue, Suite N-1007
    Miami, Florida 33128



                                                                         Respectfully Submitted,

                                                                 THE DAVIS LEGAL CENTER
                                                                        /s/ Dameka L. Davis, Esq.
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